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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 21-cv-21287-ALTMAN/Reid

  ABIGAIL VELEZ,

          Plaintiff,

  v.

  D NAKAMA FACTION CORP, et al.,

        Defendants.
  _________________________________________/

       ORDER IN ACTIONS BROUGHT UNDER THE FAIR LABOR STANDARDS ACT

          The Complaint in this action alleges violations of the Fair Labor Standards Act, 29 U.S.C.

  § 201 et seq., (“FLSA”). To assist the Court in the management of this case, and in an effort to foster

  early and cost-effective resolution, the parties are ORDERED to comply with the following

  procedures:

          1.           Under Rule 8 of the Federal Rules of Civil Procedure, a plaintiff is required to make a

  “short and plain statement of the claim.” While this Rule places only a light burden on a plaintiff, the

  Court hereby requires complaints filed under the FLSA to include, at a minimum, a statement setting

  forth the following with respect to each Plaintiff(s):

                       a.     An initial estimate of the total amount of alleged unpaid wages;

                       b.     A preliminary calculation of such wages;

                       c.     The approximate period during which the alleged FLSA violations occurred;
                              and

                       d.     The nature of the wages (e.g., overtime or straight time).

          By October 1, 2021, the Plaintiff shall file a “Statement of Claim” (and, if the Complaint does

  not contain the foregoing information, an amended complaint that conforms to these requirements).

  The Plaintiff shall then promptly serve a copy of this Order, the Statement of Claim, and copies of
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  all supporting documents (including time sheets, pay stubs, etc.) upon counsel for the Defendant(s).

           2.     Within twenty (20) days of being served with the Plaintiff’s Statement of Claim, the

  Defendant(s) shall file a “Response to the Plaintiff’s Statement of Claim,” setting forth in detail any

  defenses the Defendant(s) may raise to the Plaintiff’s claim(s) and serve on the Plaintiff copies of all

  supporting documents.

           3.     This matter is hereby REFERRED to United States Magistrate Judge Lisette M. Reid

  for a settlement conference, which shall be held within thirty (30) days of the Defendant(s)’ Response

  to the Plaintiff’s Statement of Claim. Counsel for all parties shall confer and then contact Magistrate

  Judge Reid’s Chambers prior to the due date for the Defendant(s)’ Response. Except as provided

  under Local Rule 16.2.E, the appearance of counsel and each party, or representatives of each party

  with full authority to enter into a full and complete settlement, is mandatory. Appearances shall be

  in person; telephonic appearances are prohibited absent a court order. All discussions,

  representations, and statements made at the settlement conference shall be confidential and privileged.

  If the case is settled at the settlement conference, counsel shall promptly notify the Court by filing a

  notice of settlement, signed by counsel of record, within seven (7) days of the settlement conference.

           4.     If the settlement conference is unsuccessful, all parties shall participate in a subsequent

  mediation, which will take place in accordance with the deadlines set forth in the Court’s Scheduling

  Order.

           5.     Failure to comply with ANY of these procedures may result in the imposition of

  appropriate sanctions, including the dismissal of this action or entry of default.




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        DONE AND ORDERED in Fort Lauderdale, Florida, this 28th day of September 2021.




                                                _________________________________
                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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